                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


NEILL S. WRIGHT,                                  CIVIL ACTION NO.: 2:16-cv-09405

                       Plaintiff                  JUDGE: Nanette Jolivette Brown

v.                                                MAGISTRATE JUDGE: Wilkinson

ERIC BLUE                                         SECTION “G” (2)

                       Defendant

                            MEMORANDUM OF LAW
          IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

          Plaintiff Neill S. Wright (“Mr. Wright”) submits this memorandum of law in support of

his motion for summary judgment.

I.        FACTS

          This is a simple case to enforce the Defendant, Eric Blue (“Mr. Blue”), to pay on a

delinquent promissory note.

          On June 4, 2015, Mr. Wright agreed to loan Mr. Blue a sum of one hundred thousand

dollars ($100,000.00). In return, Mr. Blue executed a promissory note (“Note #1”) agreeing to

pay Mr. Wright one hundred eight thousand dollars ($108,000.00) on or before June 30, 2015.

See Declaration of Neill S. Wright in Support of Plaintiff’s Motion for Summary Judgment

(“Wright Decl.”) at ¶¶ 2-4, Ex. A. Mr. Blue admits that he signed the note. See Defendant Eric

Blue’s Amended Original Answer [D.E. 7] (the “Answer”) at ¶ 7. Mr. Wright delivered the sum

of one hundred thousand dollars to Mr. Blue as agreed. See Wright Decl. at ¶ 5. Mr. Blue,

however, failed to make any payments to Mr. Wright on Note #1 as promised. See Wright Decl.

at ¶ 6.
         Mr. Wright offered to forgo instituting collections proceedings and to cancel Note #1 as

consideration for Mr. Blue’s promise to pay one hundred sixteen thousand dollars ($116,000.00)

on or before September 15, 2015. See Wright Decl. at ¶ 7. Mr. Blue accepted Mr. Wright’s

offer and executed a second promissory note (“Note #2”) on August 31, 2015. See Wright Decl.

at ¶ 8, Ex. B; Answer at ¶ 10. Again, Mr. Blue failed to make any payments as agreed. See

Wright Decl. at ¶ 9.

         Mr. Wright again offered to forgo instituting collection proceedings and to cancel Note

#2 as consideration for Mr. Blue’s promise to pay one hundred twenty-four thousand dollars on

or before April 15, 2016. See Wright Decl. at ¶ 10. Mr. Blue again accepted Mr. Wright’s offer

and executed a third promissory note (“Note #3”) on March 16, 2016. See Wright Decl. at ¶ 11,

Ex. C; Answer at ¶ 12. Mr. Blue admits that he has not paid any of the amounts owed on Note

#3. See Answer at ¶ 13; Wright Decl. at ¶ 12.

         Note #3 is the promissory note that Mr. Wright seeks to enforce in this action.

II.      LAW AND ARGUMENT

      A. Summary Judgment Standard

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A dispute is “genuine” when “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A

fact is “material” only if its resolution affects the outcome of the suit. Id.

      B. Mr. Wright Is Entitled To Enforcement Of The Promissory Note

         The Supreme Court of Louisiana has held that summary judgment is the appropriate

procedural device to enforce a negotiable instrument when the defendant has no defense against



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enforcement. See American Bank v. Saxena, 553 So. 2d 836, 845-46 (La. 1989); see also

Premier Bank, Nat’l Ass’n v. Percomex, Inc., 615 So. 2d 41, 43 (La. App. 3d Cir. 1993); Bank of

Am. Nat’l Trust & Sav. Ass’n v. Reeves, Case No. 94-cv-2580, 1997 U.S. Dist. LEXIS 13099 at

*9-10 (E.D. La. Aug. 25, 1997). “Once the plaintiff, the holder of a promissory note, proves the

maker’s signature, or the maker admits it, the holder has made out his case by mere production

of the note and is entitled to recover in the absence of any further evidence.” Premier Bank, 615

So. 2d at 43; see also Reeves, 1997 U.S. Dist. LEXIS 13099 at *10.

       Under the Uniform Commercial Code, as adopted by Louisiana,

              a “holder” is a person who is in possession of an instrument drawn
              or issued to him or his order. A negotiable instrument must (a) be
              signed by the maker or drawer; and (b) contain an unconditional
              promise to pay a sum certain in money; and (c) be payable on
              demand or at a definite time; and (d) be payable to order or to
              bearer.

Saxena, 553 So. 2d at 842 (citing La. Rev. Stat. §§ 10:1-201, 10:3-104).

       Here, Mr. Wright has produced Note #3 and Mr. Blue has admitted that he signed Note

#3. See Wright Decl. at ¶ 11, Ex. C; Answer at ¶ 12. Note #3 (a) is signed by Mr. Blue, (b)

contains an unconditional promise to pay one hundred twenty-four thousand dollars

($124,000.00), (c) was payable “on or before April 15, 2016,” and (d) contains a promise “to pay

to the order of Neill S. Wright.” Note #3 therefore is a negotiable instrument and Mr. Wright is

the holder. Mr. Wright has testified that he loaned to Mr. Blue the original sum underpinning

Note #3. See Wright Decl. at ¶ 5. Mr. Blue admits that he entered into the agreement and that he

has not made any payments on Note #3. See Answer at ¶ 13. Thus, Mr. Wright as holder may

enforce payment of the delinquent Note #3 unless Mr. Blue can establish a defense to liability by

a preponderance of the evidence. See Reeves, 1997 U.S. Dist. LEXIS 13099 at *12 (citing

Saxena, 553 So. 2d at 842; La. Rev. Stat. § 10:3-301).


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       In his Answer, Mr. Blue listed several affirmative defenses: (a) lack of consideration, (b)

waiver and estoppel (c) unconscionability, (d) mistake, (e) Plaintiff committed fraud, (f) statute

of limitations, and (g) frustration of purpose. See Answer at ¶ 24. Yet Mr. Blue has pled no

facts whatsoever to support his defenses.       Accordingly, the Court should grant summary

judgment in favor of Mr. Wright.

       Moreover, Note #3 provides for attorneys’ fees and costs stating, “If this Note is placed

in the hands of an attorney for collection, Maker agrees to pay attorneys’ fees and costs and

expenses of collection, including but not limited to court costs.” See Wright Decl., Ex. C.

Accordingly, the Court should award of attorneys’ fees and costs. Once summary judgment is

granted, counsel will present the Court with an affidavit and statement of fees and costs.

     III.    CONCLUSION

       For the foregoing reasons, this Court should grant Neill S. Wright’s Motion for Summary

Judgment.



                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

I certify that on this 22nd day of July, 2016, a copy of the foregoing Memorandum of Law in
Support of Plaintiff’s Motion for Summary Judgment was filed electronically with the Clerk of
Court using the CM/ECF System. Notice of this filing was served by ELECTRONIC FILING
through the court’s electronic filing system upon:

Elizabeth B. Carpenter
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and by FIRST CLASS MAIL, POSTAGE PREPAID upon:

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                                            /s/ Richard T. Sahuc
                                              Richard T. Sahuc




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